Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 1 of 10

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

 ANDRES GOMEZ,

        Plaintiff,

 v.

 BEACON MOTORS, INC,

       Defendant.
 ___________________________________/

                                CLASS ACTION COMPLAINT

        Comes now Andres Gomez (“Plaintiff”), on behalf of himself and all others similarly

 situated, hereby sues BEACON MOTORS, INC, and alleges as follows:

                                        INTRODUCTION

       1.       Plaintiff, Andres Gomez, brings this action individually and on behalf of all others

 similarly situated against Defendant, BEACON MOTORS, INC, (“Defendant”), alleging

 violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.,

 (hereinafter, “ADA”).

       2.       Plaintiff is a blind individual. He brings this civil rights class action against

 Defendant for offering and maintaining an internet website that is not fully accessible and

 independently usable by visually impaired individuals.

       3.       Plaintiff      Gomez          has         visited       Defendant’s         website

 (www.autonationchevroletdoral.com) (the “Website”).

       4.       Defendant is a vehicle dealer that offers goods that are inaccessible to the public

 with a brick and mortar show room that is located approximately ten (10) miles from the

 Defendant’s residence. Defendant’s website is offered as a tool that is heavily integrated with

 Defendant’s brick and mortar Doral show room location, to among other things, view vehicle
                                                 1
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 2 of 10

 inventory, view specials and access coupons, apply for credit and explore financing options, value

 a trade-in and schedule service appointments.

        5.      As a result, the website must interact and be heavily integrated with Defendant’s

 services, brick and mortar location, and in doing so must comply with the ADA, which means it

 must not discriminate against individuals with disabilities and may not deny full and equal

 enjoyment of services afforded to the general public.

        6.      Blind and visually impaired consumers use screen reading software or other

 assistive technologies in order to access website content. Defendant’s website, however, contains

 digital barriers, limiting the ability of blind and visually impaired consumers to access their

 content.

        7.      Defendant’s website does not properly interact with screen reader software in a

 manner that will allow the blind and visually impaired to enjoy the website, nor does the site

 provide other means to accommodate the blind and visually impaired. As a result, the Plaintiff

 could not view vehicle inventory, view specials and access coupons, apply for credit and explore

 financing options, value a trade-in and schedule service appointments. Plaintiff Gomez has visited

 Defendant’s website in the past in conjunction with Plaintiff’s visit to Defendant brick and mortar

 locations. However, unless Defendant is required to eliminate the access barriers at issue, and

 required to change its policies so that access barriers do not reoccur on Defendant’s website,

 Plaintiff will continue to be denied full and equal access to the website and related brick and mortar

 campus location as described, and will be deterred from fully using Defendant’s website in

 conjunction with its physical location.

        8.       The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

 in this action. The ADA provides, in part:

                        [i]n the case of violations of . . . this title, injunctive relief
                shall include an order to alter facilities to make such facilities readily
                accessible to and usable by individuals with disabilities . . . Where
                                                     2
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 3 of 10

                 appropriate, injunctive relief shall also include requiring the ...
                 modification of a policy ...

 42 U.S.C. § 12188(a)(2).

         9.      Therefore, on behalf of a class of similarly situated individuals, Plaintiff seeks a

 declaration that Defendant’s website violates federal law as described and an injunction requiring

 Defendant to modify its website, to include third party vendors, so that it is fully accessible to, and

 independently usable by blind or visually impaired individuals. Plaintiff further requests that the

 Court retain jurisdiction of this matter for a period to be determined to ensure that Defendant comes

 into compliance with the requirements of the ADA and to ensure that Defendant has adopted and

 is following an institutional policy that will, in fact, cause Defendant’s website to remain in

 compliance with the law.

                                 JURISDICTION AND VENUE

        10.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

 U.S.C. § 12188.

         11.        Plaintiff’s claims arose in this judicial district and Defendant does substantial

 business in this judicial district.

         12.        Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) and 42

 U.S.C. § 12117(a) in that this is the judicial district in which a substantial part of the acts and

 omissions giving rise to the claims occurred.

                                                 PARTIES

         13.        Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, was a resident

 of the State of Florida. Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, has been

 legally blind and is therefore a member of a protected class under the ADA.

        14.         Defendant, BEACON MOTORS, INC, is Florida Limited Liability Company,

 with its principal place in Miami, Florida. Defendant, BEACON MOTORS, INC, either directly
                                                   3
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 4 of 10

 or through its subsidiaries and/or partners and affiliates, owns, operates and/or maintains several a

 vehicle dealership located in Doral, Florida. Defendant, BEACON MOTORS, INC, also owns,

 operates, and maintains its integrated website, which offers continuous services to the public,

 twenty-hours a day and seven days a week.

         15.          The physical showrooms, owned by Defendant, BEACON MOTORS, INC,

 INC., and the accompanying integrated website offers services, to include among other things,

 viewing vehicle inventory, viewing specials and accessing coupons, applying for credit, valuing a

 trade-in, or scheduling service appointments within South Florida, to the public. The showrooms

 and website work collectively and are public accommodations pursuant to 42 U.S.C. §

 12181(7)(F).

                                                         FACTS
          16.         Defendant        either     owns,        operates     and/or      controls      its    website,

 www.autonationchevroletdoral.com, which offers services related to and heavily integrated with

 its brick and mortar show rooms and which offers such services such as viewing vehicle inventory,

 viewing specials and accessing coupons, applying for credit, valuing a trade-in, or scheduling

 service appointments within South Florida, to the public.1

         17.          Blind and visually impaired individuals may access websites by using keyboards

 in conjunction with screen reader software that converts text to audio. Screen reader software

 provides the primary method by which a visually impaired person may independently use the

 Internet. Unless the websites are designed to be accessed with screen reader software, visually

 impaired individuals are unable to fully access websites and the information, products, and service

 available through the sites.

         18.          The international website standards organization, W3C, has published WCAG


 1
    Most, if not all, of the purchases, lease, and trade-ins must be completed at the Defendant’s brick and mortar
 location.
                                                           4
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 5 of 10

 2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides

 widely accepted guidelines for making websites accessible to individuals with disabilities and

 compatible with screen reader software. These guidelines have been endorsed by the United States

 Department of Justice and numerous federal courts.

          19.   Plaintiff is a prospective customer who is interested in the good and services offered

 by Defendant at its brick and mortar locations.

          20.      Plaintiff uses screen reader software in order to access a website's content.

 However, despite several attempts, Defendant’s website did not integrate with Plaintiff's software,

 nor was there any function within the website to permit access for visually impaired individuals

 through other means. Plaintiff was denied the full use and enjoyment of the facilities and services

 available on Defendant’s website as a result of access barriers on the website in conjunction with

 Plaintiff’s use and patronage of Defendant’s brick and mortar campus location in Boca Raton.

          21.      Plaintiff also researches locations prior to visiting in person in order to learn

 about accessible routes, and accommodations for disabled individuals in advance of an in-person

 visit.

          22.      Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.

          23.      By failing to adequately design and program its website to accurately and

 sufficiently integrate with screen reader software, Defendant has discriminated against Plaintiff

 and others with visual impairments on the basis of a disability by denying them full and equal

 enjoyment of the website, in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

          24.      As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

 website and suffered an injury in fact including loss of dignity, mental anguish and other tangible

 injuries. Moreover, the digital barriers on Defendant’s website, Plaintiff is denied to participate in

 or benefit from the goods, services and accommodations afforded to the public.


                                                   5
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 6 of 10

          25.      The barriers at the website have caused a denial of Plaintiff s full and equal

 access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

 website itself, and in conjunction with visiting its brick and mortar campus location.

          26.      If Defendant’s website was accessible, Plaintiff could independently research

 the available credit services, trade-in options, vehicle specials, access coupons vehicles in

 inventory and schedule appointments.

          27.      Although Defendant may have centralized policies regarding the maintenance

 and operation of its website, Defendant has never had a plan or policy that is reasonably calculated

 to make its website fully accessible to, and independently usable by people with visual

 impairments.

          28.     Without injunctive relief, Plaintiff and other visually impaired individuals will

 continue to be unable to independently use Defendant’s website in violation of their rights under

 the ADA.

                                      CLASS ALLEGATIONS

          29.     Plaintiff brings this class action on behalf of himself and all others similarly

 situated pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf

 of all legally blind individuals who have attempted, or will attempt, to access Defendant’s website

 using screen reader software.

          30.     Numerous Class: The class described above is so numerous that joinder of all

 individual members in one action would be impracticable. The disposition of the individual claims

 of the respective class members through this class action will benefit both the parties and this

 Court.

          31.     Typicality: Plaintiff’s claims are typical of the claims of the members of the

 class. The claims of the Plaintiff and members of the class are based on the same legal theories


                                                  6
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 7 of 10

 and arise from the same unlawful conduct.

        32.        Common Questions of Fact and Law: There is a well-defined community of

 interest and common questions of fact and law affecting members of the class in that they all

 have been and/or are being denied their civil rights to full and equal access to, and use and

 enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its website

 fully accessible and independently usable as above described.

        33.        Adequacy of Representation: Plaintiff is an adequate representative of the class

 because his interests do not conflict with the interests of the members of the class. Plaintiff will

 fairly, adequately, and vigorously represent and protect the interests of the members of the class

 and has no interests antagonistic to the members of the class. Plaintiff has retained counsel

 who are competent and experienced in the prosecution of class action litigation, generally, and

 who possess specific expertise in the context of class litigation under the ADA.

        34.        Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

 Defendant has acted or refused to act on grounds generally applicable to the Class, making

 appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

                                      SUBSTANTIVE VIOLATIONS


                          Title III of the ADA, 42 U.S.C. § 12181 et seq.

        35.        The allegations contained in the previous paragraphs are incorporated by

 reference.

        36.        Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

 individual shall be discriminated against on the basis of a disability in the full and equal enjoyment

 the goods, facilities, privileges, advantages or accommodations of any place of public

 accommodation by any person who owns, leases (or leases to), or operates a place of public

 accommodation.” 42 U.S.C. § 12182(a).

                                                   7
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 8 of 10

       37.         Defendant’s brick and mortar show room locations and accompanying Website

 are public accommodations within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(F).

       38.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

 deny individuals with disabilities the opportunity to participate in or benefit from the goods,

 services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

 12182(b)(1)(A)(1).

       39.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

 deny individuals with disabilities the opportunity to participate in or benefit from the goods,

 services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

 afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii').

       40.      Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

 includes, among other things:

                a failure to make reasonable modifications in policies, practices or
                procedures, when such modifications are necessary to afford such
                goods,      services,   facilities,  privileges,   advantages     or
                accommodations to individuals with disabilities, unless the entity
                can demonstrate that making such modifications would
                fundamentally alter the nature of such goods, services, facilities,
                privileges, advantages or accommodations; and a failure to take such
                steps as may be necessary to ensure that no individual with a
                disability is excluded, denied services, segregated or otherwise
                treated differently than other individuals because of the absence of
                auxiliary aids and services, unless the entity can demonstrate that
                taking such steps would fundamentally alter the nature of good,
                service, facility, privilege, advantage or accommodation being
                offered or would result in an undue burden

 42 U.S.C. § 12182(b)(2)(A)(ii–iii); see also 28 C.F.R. § 36.303(a).

       41.      Title III requires that "[a] public accommodation shall furnish appropriate auxiliary

 aids and services where necessary to ensure effective communication with individuals with

 disabilities." 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of "auxiliary

                                                  8
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 9 of 10

 aids and services," including "...accessible electronic and information technology; or other

 effective methods of making visually delivered materials available to individuals who are blind or

 have low vision." 28 C.F.R. § 36.303(b).

        42.     The acts alleged herein constitute violations of Title III of the ADA, and the

 regulations promulgated thereunder. Plaintiff, who is blind and has a disability that substantially

 limits the major life activity of seeing, within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A),

 has been denied full and equal access to Defendant’s website. Plaintiff has not been afforded the

 services, privileges and advantages that are provided to other patrons who are not disabled, and/or

 have been provided services, privileges and advantages that are inferior to those provided to non-

 disabled persons. These violations are ongoing as Defendant has failed to make any prompt and

 equitable changes to its website and policies in order to remedy its discriminatory conduct.


        43.        Pursuant to the ADA and the remedies, procedures and rights set forth and

 incorporated therein, Plaintiff, on behalf of himself and on behalf of all others similarly situated,

 requests relief as set forth below.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:

 a.     A Declaratory Judgment that at the commencement of this action Defendant is in violation

 of the specific requirements of Title III of the ADA, described above, and the relevant

 implementing regulations of the ADA, in that Defendant took no action that was reasonably

 calculated to ensure that its website was fully accessible to, and independently usable by, blind

 individuals;

 b.     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2), 29 U.S.C.A. § 794a, 28 CFR

 § 36.504 (a), and 29 U.S.C.A. § 794a which directs Defendant to take all steps necessary to bring

 its website into full compliance with the requirements set forth in the ADA, and both statutes'

                                                  9
Case 1:19-cv-23370-BB Document 1 Entered on FLSD Docket 08/12/2019 Page 10 of 10

  implementing regulations, so that its website is fully accessible to, and independently usable by,

  blind individuals, and which further directs that the Court shall retain jurisdiction for a period to

  be determined to ensure that Defendant has adopted and is following an institutional policy that

  will in fact cause Defendant to remain fully in compliance with the law;

  c.     An Order certifying the class proposed by Plaintiff, and naming Plaintiff as class

  representatives and appointing his counsel as class counsel;

  d.     Payment of attorneys’ fees and costs incurred in this lawsuit;

  e.     Payment of reasonable attorneys' fees, pursuant to 42 U.S.C. § 12205, 29 U.S.C.A. § 794a,

  and 28 CFR § 36.505; and,

  f.     Whatever other relief the Court deems just, equitable and appropriate.

  Dated: August 12th, 2019

                                                Respectfully submitted,

                                                GARCIA-MENOCAL & PEREZ, P.L.
                                                Attorneys for Plaintiff
                                                4937 S.W. 74th Court
                                                Miami, FL 33155
                                                Telephone: (305) 553-3464
                                                Facsimile: (305) 553-3031
                                                Primary E-Mail: ajperez@lawgmp.com
                                                Secondary E-Mail: aquezada@lawgmp.com
                                                bvirues@lawgmp.com

                                                By: ___/s/_Anthony J. Perez________
                                                       ANTHONY J. PEREZ
                                                       Florida Bar No.: 535451
                                                       BEVERLY VIRUES
                                                       Flroida Bar No.: 123713




                                                   10
